Case 24-43233           Doc 212        Filed 05/21/25 Entered 05/21/25 12:00:03
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   UNITED STATES BANKRUPTCY COURT
   EASTERN DISTRICT OF MISSOURI
   PDF FILE WITH AUDIO FILE ATTACHMENT

         2024-43233
         Urban Chestnut Brewing Company Inc.



         Case Type :                    bk
         Case Number :                  2024-43233
         Case Title :                   Urban Chestnut Brewing Company Inc.

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